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                    Muneeb Akhter Photo Documentary
    August 24, 2015

    TO: Honorable Judge T.S. Ellis III
    RE: Muneeb Akhter Sentencing

    My name is Iffat Mobin-Uddin. I reside at 614 St. George, Richardson, TX, 75081.

    I was born in Lexington, Kentucky in 1972 and grew up in Columbus, Ohio. I graduated Summa Cum
    Laude with Honors and Distinction from The Ohio State University with two bachelor’s degrees: one in
    Psychology and one in Family Relations and Human Development with an emphasis on Child
    Development. I then graduated from the University of Pennsylvania with an M.S. Ed. in Early Childhood
    Education. I have directed and taught in Early Childhood Education programs where I have been the
    Lead KG Teacher at schools in Columbus, Ohio as well as Dallas, Texas. In 2001, I co-founded Tarbiyah 4
    Kids, an educational consultancy directed at providing workshops and training for staff in schools across
    the nation. I am married and am the mother of four children between ages of 12 and 4 years (Israa,
    Ziyaad, Saadiq, and Aaliya).

    I have known Muneeb Akhter since 1999 when I married his father’s younger brother Siraj. I have been
    privileged to witness Muneeb grow over the years from a child into adulthood. As the eldest cousin of
    the family, he has always had a role in looking after and being a role model for the younger children. It
    is my intention through this photo journal to share a glimpse into Muneeb’s life as pertains to his strong
    and loving commitment to family.

    Our family has been blessed with the opportunity to visit with each other in consistent family reunions
    over the years. This is particularly important to me as I had the same connection with my own cousins
    growing up even though they lived out of the country. I always wanted my children to grow up with
    strong bonds with their cousins and appreciated the effort our families made to ensure this happened.



      July 2006, Dallas, TX

                                                                             Muneeb
When my kids were very small children, Muneeb
was already a teenager. As these following photos
will capture, he still enjoyed taking care of them,
playing with them, and even teaching them while                          Baby Ziyaad
spending their short vacations together.

This is a typical group shot of the cousins at the end
of the visit.
                                                                                       Israa




                                                                                                              1
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                            Muneeb Akhter Photo Documentary
              July 2007, Cary, NC

                 Muneeb        In the summer of 2007, my son Ziyaad was                                       Muneeb
                               only two years old, but already had a
                               special relationship with his big cousin
                               Muneeb. Despite the age difference,
                               Muneeb would take care to spend time
                               with him.

                               It was always a funny adventure trying to
                               get the group picture with all the family in
                   Ziyaad      one spot.


    December 2008-January 2009, Cary, NC
                                                         Muneeb
                                                                                                     Ziyaad
                                                                                     Muneeb
     Muneeb




                                      Israa




  Muneeb would even enjoy spending time with my daughter             At 3 years old, Ziyaad stuck to his twin cousins like glue.
  Israa when she was young. Here he is teaching her to use           Though the age gap was wider than other cousins, most of
  the stylus on his laptop, something at 5 years old, she had        his time would be spent with them. They always enjoyed
  no experience with.                                                sitting with him at our restaurant outings.


                                                                  Muneeb                                               Muneeb
                                                    Muneeb
     Muneeb




During this trip, we took a walk around the neighborhood lake which took over 45 minutes at the pace of the little kids.
Muneeb enjoyed the slow pace and helped to keep the kids safe and having fun. When my son Ziyaad decided to walk with
his pants pulled up, Muneeb thought that was so funny, he did the same, and walked the rest of the way just like his
                                                                                                                   2 little
cousin! These were little but valuable ways he strengthened the bonds of family as well as friendship.
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                        Muneeb Akhter Photo Documentary
                                                                                                      Muneeb
    December 2008-January 2009, Cary, NC (continued)


An important and fun part of each of our family
reunions was the annual ‘show’ put on by the
cousins. Sometimes a puppet show, sometimes a
variety show, but always a fun time.
                                                                               Muneeb                              Muneeb
Here Muneeb and his brother Sohaib put on a
magic show where Muneeb ‘levitated’ Sohaib. This
act was thoroughly enjoyed by the adults as well as
the children. Obviously the brothers had a great
time participating and putting in on for us as well.




                         Muneeb
                                             Muneeb




                                                                                                Muneeb




Many kids may not want to join in on family time, especially if they are the older ones. They may prefer to disappear in
their own rooms with their own devices and spend time alone rather than have to entertain the little ones or hang out
with the older generation. On the contrary, Muneeb was always eager and happy to spend time with our family, young
and old. You can see him enjoying everyone else’s acts, drawing a connection between generations.




                                    Muneeb
                                                            The last act in this particular variety show was
                                                            Muneeb, Sohaib and their younger cousin (age 8)
                                                            with their rendition of a song with a positive moral
                                                            message.




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                           Muneeb Akhter Photo Documentary
         December 2009-January 2010, Dallas, TX

                                                                                                            Muneeb
    During this reunion, my second son Saadiq was now 2 years
    old. Muneeb cared for him just like he did for Ziyaad, and as
    a result my two boys really built a strong bond with him and
    to this day look forward to subsequent visits. As the eldest
    cousin who was computer savvy and willing to give his time            Ziyaad
    to them, Muneeb captured their hearts and earned their
    respect.                                                                            Saadiq




                  Muneeb


                                                                                         During our vacations together, we
                                                                                         always look forward to the big
                                                                                         family restaurant outing.
                                              Muneeb

                Israa



                            Muneeb
                                                Muneeb can be seen here taking
                                                the role of historian, capturing
                                                the fun events and celebrations                                       Muneeb
                                                of our family get-togethers. He
                                                reminds me of my own eldest
                                                sister who, when we were young,
                                                would always be the one to whip
                                                out the camera and document
                                                our priceless memories.



                        Muneeb


                                                                                                 Muneeb




Another year, another show! Muneeb is ready to video the        To this day, I use Muneeb and his siblings as an example for
younger kids after participating in the puppet show put on by   my children. They come to the table and efficiently eat the
the older cousins.                                              food set before them without complaints or wasting time.
                                                                                                                  4
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                        Muneeb Akhter Photo Documentary
      December 2011-January 2012, Dallas, TX




                                                                                                          Muneeb
The cousins like to conglomerate in one room, chatting and
working on their devices. Muneeb’s room is always the place
of choice, and he and his siblings were always welcoming to
the younger kids.




                                                                This December the family was able to take a trip to
                            Muneeb
                                                                the Six Flags over Texas. They had a marvelous time,
                                                                and Muneeb played his part well in keeping the
                                                                younger cousins accounted for and having fun!




This Winter, my brother and his family were also able to
join us for a visit. Now that Muneeb was an adult, he                          Muneeb
would also join in on the conversations and nightly
strolls with the other men in the family. Though my
brother was only with the boys for a couple of days, he
was very impressed with them.

Here we are again after our annual family restaurant
gathering, a time enjoyed and cherished by the children
as well as the adults in our family.




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                      Muneeb Akhter Photo Documentary
     December 2013-January 2014, Dallas, TX


December 2013-January 2014 was the last time our family
                                                                                                           Muneeb
has been able to hold a reunion. My son Ziyaad, now 10
years old (and pictured here at 8yrs), asked me just last week
if his cousins were coming to visit this December. It was a
                                                                              Ziyaad
tough question to which I really have no answer. He misses
Muneeb greatly, and is eagerly waiting for the chance to
catch up, share his new interest in programming, and
continue their bond of family and friendship.




                                         Muneeb



                                                                          Muneeb




                                                                 Saadiq                         Ziyaad




As my sons grow older, so does their affection for their twin cousins. They were always together, sitting beside
them in the restaurant, or being with them in the car and during our outings. This particular December, I could
not get my boys out of Muneeb’s room. They just wanted to be near him all the time, even if they were not
allowed to use computers and phones which they really enjoy and which he always shared with them.




                                           These were the last cousin
                                                                                                                   Muneeb
                                           pictures taken at the end of our
                               Muneeb      reunion in Dallas in January
                                           2014. This year my (then 2 year
                                           old) daughter Aaliya also
                                           formed a bond with Muneeb
                                           just like her brothers before
                                           her. She wanted him to hold
                                           her during the picture taking
                                                                                                                     Aaliya
                                           session.

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                Muneeb Akhter Photo Documentary
 Honorable Judge Ellis, I genuinely thank you for taking the time to review this document. Educators are
 trained to observe the whole individual within all realms: physical, academic, social, emotional and
 spiritual development. My professional assessment of Muneeb is that he is a gentle, caring, intelligent
 and creative individual who has a great deal to offer to his family, his community, and his country. He
 has made a terrible mistake and has caused great harm and is deeply remorseful and sorry about this.
 He is now trying his level best to set things right. Please give my nephew Muneeb the chance to
 demonstrate his varied talents and use them toward a positive contribution to the community.



 With all due respect and sincere appreciation,



 Iffat Mobin-Uddin




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